          Case 2:10-cr-00223-JAM-KJN Document 709 Filed 09/15/15 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9

10 UNITED STATES OF AMERICA,                            MISC. CASE NO.: 2:15-MC-00096-JAM-KJN

11           Plaintiff,
                                                        ORDER
12                          v.

13 HODA SAMUEL,                                         CRIMINAL CASE NO.: 2:10-CR-00223-JAM

14           Defendant and Judgment Debtor,

15
     RAYMOND JAMES FINANCIAL INC.,
16
             Garnishee.
17

18                                                   ORDER
19           The Court, having reviewed the court files and the United States’ Application for an Order
20 Terminating Writ of Garnishment (the “Application”) and finding good cause therefrom, hereby

21 GRANTS the Application (ECF No. 8). Accordingly, IT IS HEREBY ORDERED that:

22           1. The writ of garnishment previously issued on August 26, 2015, against defendant Hoda

23               Samuel is hereby TERMINATED pursuant to 28 U.S.C. § 3205(c)(10)(B).

24           2. The Clerk of Court shall close this miscellaneous case.

25 Dated: September 15, 2015

26

27

28

     ORDER

30
